                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                   Chapter 11
In re:
                                                   Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,
                                                   (Jointly Administered)
                      Debtors.


              MOTION AND ORDER FOR PRO HAC VICE ADMISSION OF
                            JOHN J. CALANDRA


       Pursuant to Del. Bankr. L.R. 9010-1 and the attached certification, counsel moves the
admission pro hac vice of John J. Calandra of the law firm McDermott Will & Emery LLP, One
Vanderbilt Avenue, New York, New York 10017, to represent the Plan Administrator as manager
of Voyager Digital Holdings, Inc., Voyager Digital Ltd., and Voyager Digital, LLC, the Wind-
Down Debtors, pursuant to the confirmed Third Amended Joint Plan of Voyager Digital Holdings,
Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code, Case No. 22-10943
(MEW) (U.S. Bankruptcy Court for the Southern District of New York) [Docket No. 1166-1], in
the above-captioned case.

 Dated: June 20, 2023               /s/ Maris J. Kandestin
                                    Maris J. Kandestin (Del. Bar No. 5294)
                                    McDERMOTT WILL & EMERY LLP
                                    1007 North Orange Street, 10th Floor
                                    Wilmington, Delaware 19801
                                    Telephone:     (302) 485-3900
                                    Facsimile:     (302) 351-8711
                                    Email:         mkandestin@mwe.com

                                    Counsel for Plan Administrator in Case No. 22-B-10943
                                    (MEW) (U.S. Bankruptcy Court for the Southern District of
                                    New York)

                                 ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
         CERTIFICATION OF COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Del. Bankr. L.R. 9010-1, I certify that I am eligible for admission to this Court,
am admitted, practicing and in good standing as a member of the Courts of the State of New York,
the United States District Courts for the District of Columbia and the Eastern and Southern
Districts of New York, and the United States Court of Appeals for the Second Circuit, and submit
to the disciplinary jurisdiction of this Court for any alleged misconduct that occurs in the
preparation or course of this action. I also certify that I am generally familiar with this Court’s
Local Rules and with the Standing Order for District Court Fund effective August 31, 2016. I
further certify that the annual fee of $25.00 has been paid to the Clerk of the Court for the District
Court.

 Dated: June 20, 2023                 /s/ John J. Calandra
                                      John J. Calandra
                                      McDERMOTT WILL & EMERY LLP
                                      One Vanderbilt Avenue
                                      New York, New York 10017
                                      Telephone:     (212) 547-5489
                                      Facsimile:     (212) 547-5444
                                      Email:         jcalandra@mwe.com

                                      Counsel for Plan Administrator in Case No. 22-B-10943
                                      (MEW) (U.S. Bankruptcy Court for the Southern District of
                                      New York)
